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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
____________________________________________
__________________________________________
                                           )
TROOPER 1,                                )                Civil No. 1:22-cv-00893
                                          )
            Plaintiff,                     )
                                           )
      v.                                   )
                                           )
NEW YORK STATE POLICE, ANDREW              )
CUOMO, MELISSA DEROSA, and                 )
RICHARD AZZOPARDI,                         )
                                           )
            Defendants.                   )
__________________________________________)

     NON-PARTY CHARLOTTE BENNETT’S NOTICE OF MOTION TO QUASH
              DEFENDANT ANDREW CUOMO’S SUBPOENAS

       Non-party Charlotte Bennett, by undersigned counsel, respectfully moves pursuant to

Federal Rules of Civil Procedure 45(d)(3) and 26(c)(1) to quash the Subpoena to Testify at a

Deposition in a Civil Action and the Subpoena to Produce Documents, Information, or Objects

or to Permit Inspection of Premises in a Civil Action served on Ms. Bennett on June 1, 2023, and

the Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of

Premises in a Civil Action directed to Hamilton College noticed on May 5, 2023, by Defendant

Andrew Cuomo in Trooper 1 v. New York State Police et al., No. 22-CV-893 (LDH) (TAM)

(E.D.N.Y. filed Feb. 17, 2022).
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Dated: June 30, 2023                    Respectfully submitted,




                                        EISENBERG & SCHNELL LLP

                                        _/s/ Laura S. Schnell______________

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                                        Herbert Eisenberg

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cc:   All Counsel of Record (via ECF)
